
Ksenia Pavlova, D.O., as Assignee of Daniel Pharel, Appellant, 
againstHartford Insurance Company, Respondent. 




The Rybak Firm, PLLC (Damin J. Toell of counsel), for appellant.
Rivkin Radler, LLP (Frank P. Izzo of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Michael Gerstein, J.), entered January 22, 2018. The order denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint on the ground that plaintiff's assignor had failed to appear for duly scheduled examinations under oath.
For the reasons stated in Allay Med. Servs., P.C., as Assignee of Harrison, Henry v Travelers Ins. Co. (___ Misc 3d ___, 2019 NY Slip Op _____ [appeal No. 2017-2383 K C], decided herewith), the order is affirmed.
PESCE, P.J., ALIOTTA and SIEGAL, JJ., concur.

ENTER:
Paul Kenny
Chief Clerk
Decision Date: November 08, 2019










